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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

 IN RE:                                 §         CASE NO.    21-50946-CAG
 ALAMO CITY MOTORPLEX, LLC,             §
 DEBTOR(S)                              §         CHAPTER     11




     ALAMO CITY MOTORPLEX, LLC’S DISCLOSURE STATEMENT COVERSHEET




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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

 IN RE:                                    §           CASE NO.       21-50946-CAG
 ALAMO CITY MOTORPLEX, LLC,                §
 DEBTOR(S)                                 §           CHAPTER        11

            ALAMO CITY MOTORPLEX, LLC’S DISCLOSURE STATEMENT

                                           I.

                                    INTRODUCTION

 A.      Identity     of   Debtor    for       the   Purposes    of    the     Plan    of

 Reorganization

       On July 30, 2021, a Voluntary Petition was filed by the

 Debtor, (“Debtor”), pursuant to Chapter 11 of Title 11 of the

 United States Code (the “Code”) with the United States Bankruptcy

 Court for the Western District of Texas, San Antonio Division.

 Debtor     is    principally   engaged        the   business     of       leasing    real

 property that is used as a automobile racing drag way. An Order

 for Relief was entered on the date of the original filing of the

 Chapter 11 proceeding.         All Creditors with claims against Debtor

 will receive distributions from the Debtor’s operation and the

 Debtor’s estate.          All post confirmation business involving the

 Debtor will be conducted by the Debtor.

       B.        Sophisticated Nature           of   Most   Creditors         and     this
                 Disclosure Statement.

       The Debtor’s Plan of Reorganization (“Plan”) deals with the

 payment of debt held by sophisticated Creditors and parties-in-



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 interest, and for that reason, the Debtor considers the Creditors

 as    sophisticated       investors      and   have    included     information

 concerning        operations,   values   and   other   analyses     intended    to

 furnish financial and legal information which should be reviewed

 only after each Creditor has complete understanding of the Plan.

       C.     Important Plan Definitions/Explanations.

       The Plan contains numerous definitions found in the first

 section of the Plan.            These terms are generally capitalized to

 indicate that they are defined terms.             Such definitions include

 explanations which are enforceable as the terms of the Plan.

 Reference should be made to the definition section.                  Several of

 these      definitions    are    explained     throughout    this    Statement;

 however, such explanation is not intended as a substitute for a

 full and complete reading and understanding of the definitions.

 Emphasis is placed on these definitions and they are an integral

 part of the Plan.

       D.     Nature and Purpose of             this    Disclosure     Statement
              (“Disclosure Statement”)

       Pursuant to §1125 of the Code, the Debtor seeks an Order

 from the Bankruptcy Court for the Western District of Texas, San

 Antonio Division, The Honorable Craig A. Gargotta presiding, (the

 “Court”) approving this Disclosure Statement for submission to

 the holders of claims against, or interest in, the Debtor.                     The

 purpose      of    this   Disclosure     Statement     is   to    provide   such


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  information as the Bankruptcy Court deems material and necessary

 for the creditors, investors and other parties in interest to

 make a reasonably informed decision in exercising their right to

 vote    for    acceptance       or   rejection    of    the    Debtor’s    Plan     of

 Reorganization           (the   “Plan”).       The      Plan    has   been       filed

 commensurate with the filing of this Disclosure Statement.

        Pursuant to the terms of the Code, this Disclosure Statement

 has been presented to you, subject to approval and hearing as to

 any objections by the Bankruptcy Court.                  Such approval is that

 required      of   the    Bankruptcy   Court     by    the   Code   and   that    this

 statement contains adequate information.                 Such approval does not

 constitute a judgment by the Court as to the desirability of the

 Plan or as to the value of any consideration offered hereby.

 Interested parties are referred to 11 U.S.C. §1125 which reads,

 in part:

        “. . . (b) An acceptance or rejection of a plan may not be

 solicited after the commencement of the case under this title

 from a holder of a claim or interest with respect to such claim

 or interest unless, at the time of or before such solicitation,

 there is transmitted to such holder the plan or a summary of the

 plan, and a written disclosure statement approved, after notice

 and a hearing, by the court as containing adequate information.

 The court may approve a disclosure statement without a valuation

 of the Debtor or an appraisal of the Debtor’s assets . . .”


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          “(d) Whether a disclosure statement . . . contains adequate

 information is not governed by any otherwise applicable non-

 bankruptcy law, rule, or regulation, but an agency or official

 whose duty is to administer or enforce such a law, rule, or

 regulation may be heard on the issue of whether a disclosure

 statement       contains    adequate       information.          Such    an   agency    or

 official may not appeal from an order approving a disclosure

 statement . . .”

          “(e) A person that solicits acceptance or rejection of a

 plan,     in    good   faith      and    in   compliance    with        the   applicable

 provisions of this title, or that participates, in good faith and

 in compliance with the applicable provisions of this title, in

 the offer, issuance, sale, or purchase of a security, offered or

 sold under the plan, of the Debtor, of an affiliate participating

 in   a    joint   plan     with    the    Debtor,   or     of    a    newly   organized

 successor to the Debtor under the plan, is not liable, on account

 of   such      solicitation       of    participation,     for       violation   of    any

 applicable law, rule, or regulation governing solicitation of

 acceptance or rejection of a Plan or the offer, issuance, sale,

 or purchase of securities.”

          E.    Nature of Chapter 11 of Title 11 of U.S.C.

          Chapter 11 of the Bankruptcy Code was designed by Congress

 to allow a financially troubled Debtor to attempt to reorganize



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  and restructure his, her or its debts. Chapter 11 contemplates

 allowing the Debtor or his creditors or other parties to prepare

 a Plan of Reorganization which provides for the Debtor’s payment

 of all or part of his debts over a specified time period.                          After

 the Plan is filed and the Disclosure Statement is approved, the

 creditors and equity holders, if any, are given an opportunity to

 accept or reject the Plan.          If the requisite number of creditors

 approve     the   Plan     and/or   the       Court    deems       the   Plan    to    be

 confirmable pursuant to §1129 of the Code, then the reorganized

 Debtor pays all or a portion of his, her, or its debts pursuant

 to the terms of the Plan.

       F.     Process of Confirmation

       1.     The Hearing.

       The Bankruptcy Court has not set a court date for a hearing

 on the Plan.

       2.     Requirements of Plan Confirmation.

       A creditor, or interest holder, in order to vote, must have

 filed a proof of claim or interest by November 29, 2021, for all

 creditors except a governmental unit, unless scheduled by the

 Debtor as not disputed, liquidated and/or not contingent.                             Any

 creditor whose claim is not scheduled as disputed, liquidated or

 contingent, is, to the extent scheduled, deemed to have filed a

 claim,     and,   absent   objection,         such    claim   is    deemed      allowed.

 However, absent an affirmative act constituting a vote accepting


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 or rejecting the Plan, such creditor and such creditor’s claim

 will not be included in the tally.              (Allowance or disallowance of

 the claim for voting purposes does not necessarily mean that all

 or a portion of the claim will not be allowed or disallowed for

 distribution purposes).

       If a creditor or interest holder is eligible to vote, he may

 vote to accept the Plan by filling out and mailing the ballot

 which the Debtor has provided him as instructed.                    A creditor or

 interest    holder    may   also   vote    in    person   at    the   hearing    on

 acceptance.     Whether the creditor or interest holder votes on the

 Plan or not, such person will be bound by the terms and treatment

 set forth in the Plan if the Plan is confirmed by the Court.

       In   order   for   the   Plan   to   be     accepted     by   creditors,    a

 majority in number and a two-thirds majority in amount of claims

 filed and allowed and actually voting of each impaired class of

 creditors must vote to accept the Plan.             In order for the Plan to

 be accepted by interest holders, a two-thirds majority in amount

 of interest allowed (for voting purposes) and voting of each

 impaired class of interests must vote to accept the Plan.

       Upon your receipt of the Court approved Disclosure Statement

 and a copy of the Plan attached hereto, you are urged to fill in,

 date, sign and promptly mail the enclosed ballot which the Debtor




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  is furnishing to you.         PLEASE BE SURE TO PROPERLY COMPLETE THE

  BALLOT AND IDENTIFY THE NAME OF THE CLAIMANT.

        The Debtor or others may solicit your vote.                 The cost of any

  solicitation     by     Debtor    will     be     borne   by     the    Debtor.   No

  representative     of    the     Debtor        shall   receive    any    additional

  compensation for any solicitation.

        3.    Cramdown.

        If the Plan is rejected by one or more impaired classes of

  claims or interests held by Debtor’s creditors, the Plan or a

  modification thereof may still be confirmed by the Court if the

  Court determines, among other federal requirements, that the Plan

  does not discriminate unfairly and is fair and equitable with

  respect to the rejecting class or classes of claims or interests

  impaired by the Plan.          The Debtor, as the Plan proponent, may,

  and intends to, request such a determination (commonly referred

  to as a “cram down”) if the Plan or modification thereof is not

  accepted by all of the impaired classes of claims or interests

  held by creditors or investors.

        G.    Voting Procedures and Requirements

        1.    Ballots and Voting Deadline

        In addition to this Disclosure Statement and a copy of the

  Plan, each creditor entitled to vote will hereafter be provided

  with a ballot to be used for voting to accept or reject the Plan,

  together with a postage paid return envelope.


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        In order to be counted for voting purposes, ballots for the

  acceptance     or    rejection     of     the    Plan   must    be     completed       and

  returned to the Bankruptcy Court prior to the hearing before the

  Bankruptcy Court requiring his approval of the Plan or at such

  other time as the Bankruptcy Court may set.                 The time and date of

  the hearing will be set forth in a notice to the creditors.

        Whether or not the creditor entitled to vote expects to be

  present at the hearing, each creditor is urged to complete, date,

  sign and properly mail the ballot to the Debtor’s counsel at the

  following address:

        James S. Wilkins
        JAMES S. WILKINS, P.C.
        1100 NW Loop 410, Suite 700
        San Antonio, Texas 78213
        Phone:(210) 271-9212

        For purposes of this Plan, a creditor who fails to vote is

  deemed to have entered a neutral vote on the Plan.

        2.    Creditors Entitled to Vote

        Any   creditor     whose     Claim    is   impaired      under     the    Plan    is

  entitled to vote, if either (I) its claim has been scheduled by

  the   Debtor      (and   such     claim    is    not    scheduled        as    disputed,

  contingent or unliquidated) in the Debtor’s original schedules

  filed on or about August 11, 2021 or in any subsequent amendment

  of schedules, or (ii) it has filed a proof of claim on or before

  November    29,     2021,   for    all    creditors     (except      a    governmental



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  unit), set by the Bankruptcy Court for such filings. Any claim

  as to which an objection has been filed or has been disputed (and

  such objection is still pending or the disputed claim has not

  been resolved) is not entitled to vote, unless the Bankruptcy

  Court temporarily allowed the claim in an amount which it deems

  proper for the purpose of accepting or rejecting the Plan upon

  application by the creditor. Such application must be heard and

  determined by the Bankruptcy Court at such time as specified by

  the Bankruptcy Court.        A creditor's vote may be disregarded if

  the Bankruptcy Court determines that the creditor’s acceptance or

  rejection was not solicited or procured in good faith or in

  accordance with the provisions of the Bankruptcy Code.

        3.    Definition of Impairment

        Under Section 1124 of the Bankruptcy Code, a class of claims

  or Equity Security Interests is impaired under a Chapter 11 plan

  unless, with respect to each claim or interest of such class, the

  Plan:

        1.    Leaves unaltered the legal, equitable, and contractual
              rights of the holder of such claim or Equity Security
              interest; or

        2.    Notwithstanding any contractual provision or         applicable
              law that entitles the holder of a claim               or Equity
              Security interests to receive accelerated            payment of
              his claim or Equity Security interests                after the
              occurrence of a default;

              a.    Cures any such default that occurred before or
                    after the commencement of the case under the
                    Bankruptcy Code, other than a default that


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                    consists of a breach of any provision relating to
                    the insolvency or financial condition of the
                    Debtor at any time before the closing of the case,
                    the commencement of a case under the Bankruptcy
                    Code, or the appointment of or taking possession
                    by a trustee in a case under the Bankruptcy Code;

              b.    Reinstates the maturity of such claim or Equity
                    Security interest as it existed before the
                    default;

              c.    Compensates the holder of such claim or Equity
                    Security Interest for damages incurred as a result
                    of   reasonable  reliance   on   such  contractual
                    provision or applicable law; and

              d.    Does not otherwise alter the legal, equitable, or
                    contractual rights to which such claim or Equity
                    Security Interest entitles the holder of such
                    claim or Equity Security Interest; or

        3.    Provides that, on the Plan effective date, the holder
              of such claim or Equity Security Interest receives, on
              account of such claim or Equity Security Interest, cash
              equal to:

              a.    With respect to a claim, the allowed amount of
                    such claim; or

              b.    With respect to an Equity Security Interest, if
                    applicable, the greater of:

                    (i)   Any applicable fixed liquidation preference;

        or

                    (ii) Any fixed price at which the Debtor, under
                         the terms of the security, may redeem the
                         security.

        4.    Classes Impaired Under the Debtor’s Plan




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        The following classes of claim are impaired under the Plan,

  and creditors holding claims in such classes are entitled to vote

  to accept or reject the Plan: None are impaired.

                                       II.

                                REPRESENTATIONS

        A.      Disclaimers

        1.      NO REPRESENTATIONS CONCERNING THE DEBTOR OR THE PLANS

  OF REORGANIZATION ARE AUTHORIZED BY THE DEBTOR OTHER THAN AS SET

  FORTH    IN   THIS   DISCLOSURE   STATEMENT.        ANY    REPRESENTATIONS   OR

  INDUCEMENTS MADE BY ANY PERSON TO SECURE YOUR VOTE WHICH ARE

  OTHER THAN HEREIN CONTAINED SHOULD NOT BE RELIED UPON AND SUCH

  REPRESENTATIONS OR INDUCEMENTS SHOULD BE REPORTED TO COUNSEL FOR

  THE DEBTOR, WHO SHALL DELIVER SUCH INFORMATION TO THE BANKRUPTCY

  COURT.

        2.      THE COURT’S APPROVAL OF THE DISCLOSURE STATEMENT DOES

  NOT   CONSTITUTE     AN   ENDORSEMENT    OF   ANY   OF    THE   REPRESENTATIONS

  CONTAINED IN EITHER THE DISCLOSURE STATEMENT OR THE PLAN, NOR

  DOES IT CONSTITUTE AN ENDORSEMENT OF THE PLAN ITSELF.

                                       III.

                BACKGROUND INFORMATION ON DEBTOR AND THE PLAN

                  AND THE NATURE AND HISTORY OF THE DEBTOR

        A.      Financial History and Background of the DEBTOR.

        Debtor is principally engaged in the business of leasing

  real property.


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        B.    Operations in Chapter 11.

        After the filing of the Voluntary Petition, the Debtor have

  continued to operate the Debtor’s business.                 The Debtor have

  continued to pay all obligations on post-petition debts while

  under protection of the Bankruptcy Code and have paid all normal

  operating business expenses.

        There are not copies of the Debtor’s most current Monthly

  Operating Reports because the Debtor has not been receiving any

  rental income from the tenant.

        The Debtor has continued to remain current on its post-

  petition    tax   liability   and    make   agreed   upon   cash   collateral

  payments, if any.

        C.    Future Income and Expenses Under the Plan.

        Future income and expenses under the Plan are irrelevant.

  Currently, the Debtor has received permission from this Court to

  sell the real property free and clear of all liens, claims and

  encumbrances.       Currently,      that    matter   is   before   the   title

  company, but as of this date, the closing has not occurred.

        D.    Anticipated Future of Debtor.

        It is not anticipated that the Debtor will not have a future

  inasmuch as when the matter is closed and the property is sold,

  the Debtor will seek a dismissal of this bankruptcy case.




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        After the confirmation of the Plan, the following persons

  shall serve in the key management positions reflected herein:

             Name                                            Title

        PORIA MIANABI                                       Managing Member

        E.     Accounting Method and Source of Financial Information

        The accounting method used by the Debtor is the cash method.

  The source of the financial information is the Debtor’s business

  records and the Monthly Operations Reports.                        NOT ALL OF THE

  INFORMATION CONTAINED HEREIN HAS BEEN SUBJECT TO AUDIT.                       FOR THAT

  REASON,    AS     WELL    AS    BECAUSE     OF    THE    IMPOSSIBILITY    OF    MAKING

  ASSUMPTIONS,       ESTIMATES         AND   PROJECTIONS     INTO    THE   FUTURE    WITH

  COMPLETE     ACCURACY,         THE    PROPONENT     IS    UNABLE    TO   WARRANT    OR

  REPRESENT       THAT     THE   INFORMATION        CONTAINED   HEREIN     IS    WITHOUT

  INACCURACY, ALTHOUGH EVERY REASONABLE EFFORT HAS BEEN MADE TO

  ENSURE THAT SUCH INFORMATION IS ACCURATE.                  CLAIMANTS AND INTEREST

  HOLDERS ARE URGED TO REVIEW IN FULL THE PLAN AND THIS DISCLOSURE

  STATEMENT TOGETHER WITH ALL EXHIBITS ATTACHED THERETO PRIOR TO

  VOTING ON THE PLAN AND ARE URGED TO CONSULT LEGAL COUNSEL TO

  ENSURE COMPLETE UNDERSTANDING OF THE PLAN AND THIS DISCLOSURE

  STATEMENT.




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                                       IV.

                     ANALYSIS AND VALUATION OF PROPERTY

  A.    Schedule of Assets and Market Value

        The Debtor owns real property described as 1.247538 Acre

  track of land situated in Guadalupe County, Texas.             It’s value is

  $4,275,000.00     and   has   a claim    against   it   in   the   approximate

  amount of $3,100,000.00 plus accrued interest.

        The values and debts reflected below indicate any increases

        or decreases in the value of the property or corresponding

        debt since the Debtor filed for protection under Chapter 11

        of the Bankruptcy Code on July 30, 2021.                If any of the

        debts have remained the same, it is because the Debtor were

        paying interest only with no principal reduction; or, in the

        alternative, if there is any increase in debt; it is because

        the Debtor incorrectly stated the amount of debt in their

        original Bankruptcy Schedules.

        All valuations on the above mentioned property are values

  placed on the same by the Debtor in Possession as of this time.

        Exempt Property

        NONE

  B. Liquidation Analysis

  If this case were converted to a Chapter 7 proceeding and all of

  the operations were ceased, under a Chapter 7 liquidation, the



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  creditors would only receive the liquidation value of Debtor’s

  assets. The Debtor’s liquidation analysis is not attached hereto

  inasmuch     as   this     is    a     single    asset   case     and    the    value   of

  $4,275,000.00        far        exceeds     the      debt       plus     interest       of

  $3,100,000.00.

                                              V.

                       SUMMARY OF PLAN OF REORGANIZATION

  The   Plan   will    be    provided       upon    request    to    all    creditors     or

  possible creditors and all interest holders known to the Debtor.

  The Plan should          be     read    carefully    and    independently        of   this

  Disclosure Statement.            The following summary is not intended as a

  substitute for reading the Plan.

        The Plan is simple in concept.                 Basically, it contemplates

  distributions       from        the    proceeds     from    the     Debtor’s      future

  business.

        A.     Summary      of    Classes    and    Estimation      of     Administrative

  Claims and Scheduled Claims

        Class 1:      Secured claim of the following:

  Shirazi, LLC.                                                            $3,100,000.00


                                                                  Total: $3,100,000.00

        Class 2:      Secured Claim of the following:

  Guadalupe County Tax Assessor/Collector                                        $68,838.50
  P.O. Box 2903
  San Antonio, TX 78299-2903
                                                                     TOTAL: $38,838.50


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               Class 3:       The Debtor, ALAMO CITY MOTORPLEX, LLC.

        B.     Provision for Treatment of Classes of Creditors

        The     actual        and     necessary         costs     and      expenses     of

  administration       of,    and     claims        against,    Debtor’s    entitled    to

  priority     in   accordance        with     §503(b)      and   §507(a)(1)      of   the

  Bankruptcy Code are not impaired.                     The holder of any Allowed

  Administrative Claim, except as otherwise provided in the Plan,

  shall   be    paid     in   full,    without        interest,    in    cash,    on   the

  effective date of the Plan, from estate funds or upon such other

  terms as may be agreed upon between the holder of any such claim

  and   the    Debtor.        Such    payment        will   include     payment   of   all

  expenses incurred by the Debtor in the operation of the estates

  since the date of filing of this cases, together with authorized

  and allowed fees and expenses of professionals employed by the

  Debtor including attorneys, accountants and appraisers.

        Class 1:       The Class 1 Creditors, to the extent that their

  claims are allowed, shall be paid as follows: The total amount

  owed to the Class 1 Creditor shall be paid in full at closing

  regarding the sell of this real estate.

        Class 2:       The Class 2 Creditors, to the extent that their

  claims are allowed, shall be paid as follows: Shall be paid 100%

  of their claim at closing on the sell of this real estate.




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        C.    Operation of the Plan

        1.     Feasibility of the Plan

        Several factors can be considered to determine whether the

  Plan is feasible, including:

        1. Will the plan reorganize the Debtor’s financial structure

  in   such   a    way   that   the    reorganized   Debtor     will   be   able   to

  generate necessary cash flow?

        2. Will the reorganized Debtor be solvent? Will he be able

  to meet his fixed and contingent payment obligations provided for

  under the Plan as well as obligations incurred in the ordinary

  course of business, both from a cash flow and an accounting

  standpoint? Will its solvency be based only on the use of quasi-

  organization accounting rather than inherent asset values?

        3. Does the reorganized business activity have a reasonable

  likelihood to operate profitably in the future? Will its cash

  flow be sufficient?

        4.    Is   the   Debtor   sufficiently       qualified    to   handle      the

  operational,       financial        and   other    problems     likely     to    be

  encountered?

        The Debtor in this case would disclose the following:

        1. The Debtor will not be generating any income other than

  from the operation of the business.

        2. The Debtor does anticipate that to realize sufficient

  income to pay all claims pursuant to the terms of the plan.


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        3. It is anticipated that the cash flow from the operation

  of his businesses will be sufficient to meet all the fixed and

  contingent obligations for the Debtor under the Plan as well as

  those incurred in the ordinary course of business.

        4.     The    Debtor    is   sufficiently     qualified     to    handle       the

  operational,        financial      and    other     problems      likely       to     be

  encountered.

        Risks Associated with the Plan

        There is a risk, though not anticipated, that the Debtor

  will not be able to generate sufficient cash flow to satisfy the

  terms   of    the    Plan.    Notwithstanding       that,   the    Debtor      has    an

  excellent reputation in the business community and expects to be

  able to      operate    his    businesses      profitably   to    pay    the   claims

  pursuant to the terms of the plan.

        2.      Retention of Jurisdiction

        The Court shall retain jurisdiction of this case pursuant to

  the provisions of Chapter 11 of the Bankruptcy Code, until final

  allowance     or    disallowance     of   all     claims,   or    to    resolve      all

  controversies affected by this Plan in respect to the following

  matters:

        A.      To enable the Debtor or re-vested Debtor to consummate

  in cash and/or undivided interests in the property any and all

  proceedings which it may bring prior to or subsequent to entry of



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  the Order of Confirmation, to avoid or set aside the Order of

  Confirmation, or to avoid or set aside liens or encumbrances, to

  object     to    claims       or    the   allowance         thereof,    or    to    hear   and

  determine        pending       litigation        in     the    Court,        or    preference

  litigation, or to recover any transfers, assets or damages to

  which the Debtor may be entitled under the applicable provisions

  of the Bankruptcy Code or other federal, State or local law; and

  to hear and determine all related litigation, contested matters

  or adversary proceedings pending on Confirmation Date or properly

  and timely filed in the Court thereafter;

        B.        To    classify,      allow   or       disallow      claims,       and   direct

  distributions of funds from the Bankruptcy Estate of ALAMO CITY

  MOTORPLEX,           LLC   adjudicate      all     controversies         concerning        the

  classification or allowance of any claim or security interest

  against the property of the estate;

        C.        To enforce the payment and performance of the Plan

  against the re-vested Debtor or against the creditors (whether or

  not filing or holding claims against the Debtor) or any party in

  interest;

        D.        To    hear    and    determine        all   claims     arising      from   the

  rejection of executory contracts or leases, and to consummate the

  rejection            and     termination         thereof       or      application         for

  determination, rejection or termination thereof having been filed

  prior to the entry of the Order of Confirmation, or filed in


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  compliance with the Plan thereafter;

        E.        To liquidate damages in connection with any disputed,

  contingent or otherwise unliquidated claim as provided in the

  Plan or as provided in the Bankruptcy Code;

        F.        To adjudicate all claims to a security or ownership

  interest in any property of the estate or in proceeds thereof;

        G.        To adjudicate all claims or controversies arising out

  of any purchases, sales, transactions or conveyances undertaken

  by the Trustee during the pendency of the proceedings or any

  creditors after the Confirmation Date;

        H.        To     recover        all     assets        and    properties          comprising

  property of the estate of the Debtor pledged to secure payment

  under this Plan, wherever located;

        I.        To hear and determine matters concerning State, local

  and federal taxes or priority tax claims pursuant to §§§ 505, 525

  and 1146 of the Bankruptcy Code or otherwise;

        J.        To hear and determine matters or controversies relating

  to   the    Debtor           or    re-vested             Debtor   or     any    attorneys      or

  professionals              retained      on     behalf      of    the    Debtor     after      the

  Confirmation Date; and

        K.        To    make,       hear    and    determine        such    matters       and   such

  Orders     as        are    necessary         and    appropriate         to    carry    out   the

  provisions of this Plan.



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        3.    Modification of Plan

        The Debtor may propose amendments or modifications to the

  Plan and exhibits or the exhibits incorporated in this Plan and

  attached to the Approved Disclosure Statement of the Court at any

  hearing on or before the Order Confirming the Plan, with leave of

  the Court and upon notice to creditors or parties as is deemed

  necessary by the Court.           Either prior to or after the date of the

  Final   Order   approving         the   Approved   Disclosure        Statement,     any

  modification is subject to approval of the Court, and so long as

  the proposed modification to the Plan or exhibits to the Plan or

  Approved     Disclosure    Statement       do   not    materially      or   adversely

  affect any Class of Creditors, or is made to remedy any defects,

  omissions or reconcile any inconsistencies in the Plan or Order

  Confirming the Plan in such a manner as may be necessary to carry

  out   the    purpose   and    intent      of    this     Plan   or   any    Class    of

  creditor(s) affected by the modification consent in writing, the

  Court shall approve such Modification.

        4.     General   Information        about    the     Claims    Procedure      and

  Procedures for Resolving Contested Claims

        The Debtor, re-vested Debtor or any party in interest may

  file with the Bankruptcy Court an objection to the proof of claim

  filed   by   any   party     or    claimant.       Any    objection     must   be   in

  writing, must set out the name of the creditor or interest holder

  who filed the claim (and any assignee), the dollar amount of the


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  claim and the character of the claim.                       Each specific ground for

  objection or defense to, the claim shall be listed in a separate

  paragraph.        Service of the objection shall be made upon the

  attorney of record for the claimant (or the creditor or interest

  holder directly if not represented by an attorney), by serving a

  true    and   correct     copy    of     the    objection        and     shall     be    deemed

  complete upon mailing as set out in Bankruptcy Rule 9006(e).                                 A

  certificate       of    service       shall     promptly        be      attached    to    each

  objection and shall comply with local Bankruptcy Rule 9013(f).

         If an objection to a claim is filed, the creditor shall file

  a response to any such objection within twenty (20) days from the

  mailing    date    set    out    in     the    certificate         of    service    for    the

  objection.        Responses       may    take       one    of   two     forms,     namely,   a

  consent to the objection, or a non-consenting response.                                 A non-

  consenting response shall state specific reasons for objection to

  each ground or defense, shall list the names and addresses of any

  and all witnesses to be called in support of the response, and

  shall    include       copies    of     all     documents        (including        invoices,

  security      documents     and       the     like)       relied      upon   by    the    non-

  consenting party to support allowance of the claim or interest.

  Copies of such responses shall be served upon the Debtor, and

  attorneys for the Debtor.                   Failure to timely file a response

  shall result in a deemed consent to the objection, and upon the



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  expiration of the 20-day period, the Court may enter an order

  without further notice of hearing.               In the event a timely non-

  consenting response is filed, the Court shall set a hearing on

  not   less    than   thirty     (30)    days    notice        to   the   parties     in

  accordance with Bankruptcy Rule 3007.

        5.     Debtor’s Retention of Interest

        Debtor shall retain its ownership interest under this Plan.

                                          VI.

                           ALTERNATIVES TO THE PLAN

        Although this Disclosure Statement is intended to provide

  information to assist in the formation of the judgment as to

  whether to vote for or against the Plan and although creditors

  are not being offered through that vote an opportunity to express

  an    opinion     concerning    alternatives          to    the    Plan,    a   brief

  discussion of alternatives to the Plan may be useful.                           These

  alternatives      include     continuation       of     the    Chapter     11   case,

  conversion to Chapter 7 for liquidation, or dismissal of the

  proceedings.      The Debtor, of course, believes the Plan to be in

  the best interest of creditors, other interest holders and the

  Debtor.      Thus, the Debtor do not favor any alternative to the

  proposed plan.

        1.     If   this   Chapter   11    proceeding         continues      without    a

  confirmed    Plan,   there     would    be    further      delay   in    payments    to

  Creditors.


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        2.    The Debtor believes that a liquidation under Chapter 7

  would not be in the best interests of all parties.              As discussed

  above, the Creditors would receive less than what is contemplated

  by the Debtor’s Plan.

        3.    If   this   case    were     dismissed,    the   rights   of   all

  creditors would be prejudiced.               The creditors who were able to

  obtain State Court remedies against the Debtor first would have

  an advantage over other creditors.                The dismissal would also

  create a large amount of litigation.

                                         VII.

                        RISKS TO CREDITORS UNDER PLAN

        In the future, if the Debtor cannot substantially consummate

  the provisions of the Plan, the Debtor may have to cease all

  operations and, as a result, the Creditors would receive a very

  small dividend, if any, in the case.

                                      VIII.

              CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

        The implementation of the Plan will have significant federal

  income tax consequences with respect to the Creditors and the

  Debtor.    The following discussion summarizes such federal income

  tax consequences based upon the Internal Revenue Code of 1986, as

  amended (the “Tax Code”) and the Treasury Regulations promulgated

  thereunder.



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        The Plan and its related tax consequences are complex.

  Treasury Regulations have not yet been promulgated with respect

  to many of the substantive provisions of the Tax Code that have

  been amended by legislation in recent years.                          The Debtor have not

  requested a ruling from the Internal Revenue Service, nor has it

  obtained an opinion of counsel.                 Accordingly, no assurance can be

  given as to the interpretation that the Internal Revenue Service

  will adopt.     Further, the federal income tax consequences to any

  particular creditor and the Debtor may be affected by matters not

  discussed     below.         There       also        may   be       State   or     local    tax

  considerations applicable to each creditor.                           THE DISCUSSION SET

  FORTH BELOW IS INCLUDED FOR GENERAL INFORMATION ONLY.                                 BECAUSE

  THE   TAX   CONSEQUENCES        OF       THE    PLAN       MAY      VARY    DEPENDING      UPON

  INDIVIDUAL CIRCUMSTANCES, EACH CREDITOR AND INVESTOR IS URGED TO

  CONSULT ITS OWN TAX ADVISOR AS TO THE CONSEQUENCES OF THE PLAN

  UNDER APPLICABLE FEDERAL, STATE, AND LOCAL TAX LAWS.

        A.    Federal Income Tax Consequences to Creditors

        The federal income tax consequences of the implementation of

  the Plan to a creditor will depend in part on whether, for

  federal     income     tax    purposes,             the    obligation       from    which     a

  Creditor's      claim        arose       constitutes            a    “security.”            The

  determination as to whether an obligation from which a creditor's

  claim   arose   constitutes          a    “security”         for     federal     income     tax

  purposes is complex.           It depends on the facts and circumstances


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  surrounding the origin and nature of the obligation.                     Generally,

  corporate debt obligations evidenced by written instruments with

  original      maturities        of   ten        years   or     more     constitutes

  “securities.” Although it appears that some of the creditors’

  claims do not constitute “securities,” the Debtor express no

  views   with   respect     to    whether        the   obligation      from   which   a

  particular creditor's claim arose constitutes a “security” for

  federal income tax purposes.                Creditors are urged to consult

  their own tax advisors in this regard.

        Exchanges by creditors, whose claims arise from obligations

  that do not constitute “securities,” or whose claims are for

  wages or services, will be fully taxable exchanges for federal

  income tax purposes.        Such creditors who receive solely cash in

  discharge of their claims, will recognize gain or loss, as the

  case may be, equal to the difference between (i) the amount

  realized by the creditor in respect of its claim (other than any

  claim for accrued interest) and (ii) the creditor’s tax basis in

  its claim (other than any claim for accrued interest).                           For

  federal income tax purposes, the “amount realized” by a creditor

  who receives solely cash in discharge of its claim will be the

  amount of cash received by such creditor.

        Where    gain   or   loss      is    recognized     by   a   creditor,     the

  character of such gain or loss as a long-term or short-term



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  capital gain or loss or as ordinary income or loss will be

  determined by a number of factors, including the tax status of

  the creditor, whether the obligation from which a claim arose has

  been held for more than six months, and whether and to what

  extent the creditor has previously claimed a bad debt deduction.

  The capital gains deduction for individuals and the alternate tax

  for corporate net capital gain has been repealed and capital gain

  is   currently   taxed      to    individuals      and   corporations    at    their

  respective maximum tax rates.             However, the definitions of long-

  term and short-term capital gain or loss have not been repealed.

         To the extent any amount received (whether cash or other

  property) by a creditor is received in discharge of interest

  accrued on its claim during its holding period, such amount will

  be taxable to the creditor as interest income (if not previously

  included in the creditor’s gross income).                Conversely, a creditor

  will   recognize      a   deductible      loss    (or,   possibly,   a   write-off

  against a reserve for bad debts) to the extent any interest

  accrued on its claim was previously included in the creditor's

  gross income and is not paid in full.

                                            IX.

          Pending Litigation, Actions Pertaining to Fraudulent

       Transfers, Voidable Preferences and Equitable Subordination

         All   claims       for    return   of     preference   payments    or    for

  fraudulent transfers pursuant to §§ 547, 548, 549 of the Code,


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  all claims relating to post-petition transactions under § 549 of

  the Code, all claims recoverable under §550 of the Code, all

  claims existing against the Debtor, whether past or present, all

  claims against third parties on account of indebtedness, and all

  other   claims       of   the   Debtor,       to     the    extent      not   specifically

  compromised      and      released     pursuant        to    the     Plan,    and    hereby

  preserved      and     retained       for   the       enforcement        by   the    Debtor

  subsequent to the Effective Date.                    No claims of the Debtor shall

  be waived, compromised, settled, relieved, or relinquished solely

  as a result of Plan confirmation.

        Pursuant       to   the   Bankruptcy           Code,    a    Debtor     may   recover

  certain preferential transfers of property, including cash made

  while insolvent during the ninety (90) days immediately prior to

  the   filing    of     its   bankruptcy        petition       with      respect     to   pre-

  existing debts to the extent the transferee received more than it

  would have in respect of the pre-existing debt, had the Debtor

  been liquidated under Chapter 7 of the Bankruptcy Code.                              In the

  case of “insiders,” the Bankruptcy Code provides for a one year

  preference     period.          The    term        “insiders”      is   defined     in    the

  Bankruptcy Code.          There are certain defenses to such recoveries.

  Some include a transfer made in the ordinary course of the Debtor

  and the transferee’s business according to the ordinary business

  terms are not recoverable and if a transfer is received by the



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  Debtor, the transferee has a general unsecured claim against the

  Debtor to the extent of the recovery.

                                        X.

         SUMMARY OF SIGNIFICANT ORDERS ENTERED DURING THE CASE

        The Debtor has been allowed via order of this Court to sell

  its   single   asset    free   and   clear   of   all   liens,   claims   and

  encumbrances (Docket Text No. 23).

                                   CONCLUSION

       The materials provided in this Disclosure Statement are
  intended to assist you in voting for the Plan of Reorganization
  in an informed manner.    If the Plan is confirmed, you will be
  bound by its terms.   You are urged to review this material and
  make such further inquiries as you may deem appropriate and then
  cast an informed vote on the Plan. The Debtor believes that a
  reorganization of the Debtor pursuant to the Debtor’s Plan will
  provide an opportunity for creditors to receive more than would
  be received by liquidation of assets under Chapter 7 of the Code.
  Accordingly, the Debtor urges you to vote in favor of the Plan if
  this Disclosure Statement is approved.




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        RESPECTFULLY SUBMITTED this 28TH day of OCTOBER, 2021.




                                      BY: /s/Poria Mianabi
                                      PORIA MIANABI, Managing Member of
                                      the DEBTOR-IN-POSSESSION




        APPROVED AS TO FORM:

        JAMES S. WILKINS, P.C.
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        /s/James S. Wilkins
        BY: JAMES S. WILKINS
             Attorney for Debtor




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                            CERTIFICATE OF SERVICE

        I   hereby   certify   that   a    true   and   correct   copy   of   the

  foregoing Disclosure Statement has been sent to the following by

  first class U.S. mail, on this 28th day of OCTOBER, 2021:


        United States Trustee
        615 E. Houston Street, Suite 533
        San Antonio, TX 78205


                                               /s/James S. Wilkins
                                               JAMES S. WILKINS
                                               Attorney for Debtor




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